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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


State Of Texas

v.                                               Case Number: 3:21−cv−00309

Joseph R. Biden, et al.




                                 Notice of Setting

A proceeding has been set in this case as set forth below.

BEFORE:
Judge Jeffrey V Brown
LOCATION:
by telephone
     Dial in Number: 409-763-7801
     Conference ID: 37801#
     Password: 13579#
United States Post Office and Courthouse
601 Rosenberg Street
Galveston, TX 77550


DATE: 12/3/2021
TIME: 10:00 AM
TYPE OF PROCEEDING: Motion Hearing

RE: Motion for Temporary Restraining Order − #6


Date: December 1, 2021                                       Nathan Ochsner, Clerk
